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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ERIK GARCIA,                                         )
                                                     )
                       Plaintiff,                    )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        Case No. 4:23-CV-04657
PROSPER ENTERPRISES, INC.,                           )
                                                     )
                       Defendant.                    )

                                         COMPLAINT

       COMES NOW, ERIK GARCIA, by and through the undersigned counsel, and files this,

his Complaint against Defendant, PROSPER ENTERPRISES, INC., pursuant to the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                            PARTIES

       2.      Plaintiff ERIK GARCIA (hereinafter “Plaintiff”) is and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking, standing,



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grabbing, grasping and/or pinching.

        5.      Plaintiff uses a wheelchair for mobility purposes.

        6.      In addition to being a customer of the public accommodation on the Property,

Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

ensuring whether places of public accommodation are in compliance with the ADA. His

motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

access identified in this Complaint are removed in order to strengthen the already existing

standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

numerous ADA violations on this property. (“Advocacy Purposes”).

        7.      Defendant,       PROSPER    ENTERPRISES,         INC.    (hereinafter   “PROSPER

ENTERPRISES, INC.”), is a Texas company that transacts business in the State of Texas and

within this judicial district.

        8.      Defendant, PROSPER ENTERPRISES, INC., may be properly served with

process via its Registered Agent, to wit: c/o Edmond Ho, Registered Agent, 9366 Corner Oaks

Lane, Houston, TX 77036.

                                   FACTUAL ALLEGATIONS

        9.      On or about November 8, 2023, Plaintiff was a customer at “CKC African Food

Store” a business located at 9924 S. Gessner Road, Houston, TX 77071, referenced herein as

“CKC”. Attached is a receipt documenting Plaintiff’s purchase. See Exhibit 1. Also attached is

a photograph documenting Plaintiff’s visit to the Property. See Exhibit 2



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        10.     Plaintiff lives only 2 miles from CKC and the Property.

        11.     Given the close vicinity of the Property to Plaintiff’s residence, Plaintiff is

routinely travelling by the Property on at least a monthly basis.

        12.     Moreover, there are other stores at the Property Plaintiff is interested in visiting

for the first time.

        13.     Defendant, PROSPER ENTERPRISES, INC., is the owner or co-owner of the

real property and improvements that CKC is situated upon and that is the subject of this action,

referenced herein as the “Property.”

        14.     Plaintiff’s access to the business(es) located at 9924 S. Gessner Road, Houston,

TX     77071, Harris County Property Appraiser’s account number 0971700000094 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and until

Defendant, PROSPER ENTERPRISES, INC., is compelled to remove the physical barriers to

access and correct the ADA violations that exist at the Property, including those set forth in this

Complaint.

        15.     Defendant, PROSPER ENTERPRISES, INC., as property owner, is responsible

for complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant, PROSPER ENTERPRISES, INC., and the tenant

allocating responsibilities for ADA compliance within the unit the tenant operates, that lease is

only between the property owner and the tenant and does not abrogate the Defendant’s

independent requirement to comply with the ADA for the entire Property it owns, including the

interior portions of the Property which are public accommodations. See 28 CFR § 36.201(b).



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          16.   Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months or sooner, as soon

as the barriers to access detailed in this Complaint are removed and the Property is accessible

again. The purpose of the revisit is to be a return customer of CKC African Food Store, to be a

new customer at “Dollar City”, to determine if and when the Property is made accessible and to

maintain already existing standing for this lawsuit for Advocacy Purposes.

          17.   Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer living in the near vicinity as well as for Advocacy Purposes but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting

the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          18.   Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered the barriers to access at the Property that are detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.

          19.   Although Plaintiff did not personally encounter each and every barrier to access

identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior to filing

the Complaint and because Plaintiff intends on revisiting the Property as a customer and

advocate for the disabled within six months or sooner after the barriers to access are removed, it

is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

may encounter a different barrier to access identified in the complaint in a subsequent visit as,

for example, one accessible parking space may not be available and he would need to use an

alternative accessible parking space in the future on his subsequent visit. As such, all barriers to



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access identified in the Complaint must be removed in order to ensure Plaintiff will not be

exposed to barriers to access and legally protected injury.

       20.     Plaintiff’s inability to fully access the Property and the stores within in a safe

manner and in a manner which inhibits the free and equal enjoyment of the goods and services

offered at the Property, both now and into the foreseeable future, constitutes an injury in fact as

recognized by Congress and is historically viewed by Federal Courts as an inquiry in fact.

                                     COUNT I
                         VIOLATIONS OF THE ADA AND ADAAG

       21.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       22.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and




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       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       23.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       24.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       25.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       26.     The Property is a public accommodation and service establishment.

       27.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       28.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of


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$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       29.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       30.      Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer of the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       31.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       32.     Defendant, PROSPER ENTERPRISES, INC., has discriminated against Plaintiff

(and others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).




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       33.      Defendant, PROSPER ENTERPRISES, INC., will continue to discriminate

against Plaintiff and others with disabilities unless and until Defendant, PROSPER

ENTERPRISES, INC., is compelled to remove all physical barriers that exist at the Property,

including those specifically set forth herein, and make the Property accessible to and usable by

Plaintiff and other persons with disabilities.

       34.      A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

              i.   At Unit 9924, due to the presence of an accessible ramp, the maneuvering

                   clearance of this accessible entrance is not level (surface slope in excess of

                   1:48) in violation of Section 404.2.4.4 of the 2010 ADAAG standards. This

                   barrier to access would make it difficult for Plaintiff to access this unit of the

                   Property since it is often necessary for individuals in wheelchairs to need to

                   use their hands to both wheel through the doorway and keep the door open

                   with another hand.       When the maneuvering clearance is not level, this

                   ordinarily difficult process is made even more difficult by the inappropriately

                   higher slope.

             ii.   At Unit 9922, due to an approximate 1 ½ inch vertical rise at the accessible

                   entrance, the accessible route leading into this public accommodation contains

                   at least one vertical rise in excess of ¼ inch in violation of Section 303.2 of



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            the 2010 ADAAG Standards. This barrier to access would make it difficult

            and dangerous for Plaintiff to attempt to utilize the accessible route as it

            increases the likelihood of the wheelchair tipping.

     iii.   At Unit 9922, due to an approximate 1 ½ inch vertical rise at the accessible

            entrance, the maneuvering clearance of the accessible entrance is not level in

            violation of Section 404.2.4 of the 2010 ADAAG standards. This barrier to

            access would make it difficult for Plaintiff to access this unit of the Property

            since it is often necessary for individuals in wheelchairs to need to use their

            hands to both wheel through the doorway and keep the door open with another

            hand. When the maneuvering clearance is not level, this ordinarily difficult

            process is made even more difficult by the presence of an excessive vertical

            rise.

     iv.    At Unit 9920, due to an approximate 1 ½ inch vertical rise at the accessible

            entrance, the accessible route leading into this public accommodation contains

            at least one vertical rise in excess of ¼ inch in violation of Section 303.2 of

            the 2010 ADAAG Standards. This barrier to access would make it difficult

            and dangerous for Plaintiff to attempt to utilize the accessible route as it

            increases the likelihood of the wheelchair tipping.

      v.    At Unit 9920, due to an approximate 1 ½ inch vertical rise at the accessible

            entrance, the maneuvering clearance of the accessible entrance is not level in

            violation of Section 404.2.4 of the 2010 ADAAG standards. This barrier to

            access would make it difficult for Plaintiff to access this unit of the Property

            since it is often necessary for individuals in wheelchairs to need to use their



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            hands to both wheel through the doorway and keep the door open with another

            hand. When the maneuvering clearance is not level, this ordinarily difficult

            process is made even more difficult by the presence of an excessive vertical

            rise.

     vi.    At Unit 9918, due to an approximate 1 ½ inch vertical rise at the accessible

            entrance, the accessible route leading into this public accommodation contains

            at least one vertical rise in excess of ¼ inch in violation of Section 303.2 of

            the 2010 ADAAG Standards. This barrier to access would make it difficult

            and dangerous for Plaintiff to attempt to utilize the accessible route as it

            increases the likelihood of the wheelchair tipping.

     vii.   At Unit 9918, due to an approximate 1 ½ inch vertical rise at the accessible

            entrance, the maneuvering clearance of the accessible entrance is not level in

            violation of Section 404.2.4 of the 2010 ADAAG standards. This barrier to

            access would make it difficult for Plaintiff to access this unit of the Property

            since it is often necessary for individuals in wheelchairs to need to use their

            hands to both wheel through the doorway and keep the door open with another

            hand. When the maneuvering clearance is not level, this ordinarily difficult

            process is made even more difficult by the presence of an excessive vertical

            rise.

    viii.   At Unit 9916, due to the presence of an accessible ramp, the maneuvering

            clearance of this accessible entrance is not level (surface slope in excess of

            1:48) in violation of Section 404.2.4.4 of the 2010 ADAAG standards. This

            barrier to access would make it difficult for Plaintiff to access this unit of the



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           Property since it is often necessary for individuals in wheelchairs to need to

           use their hands to both wheel through the doorway and keep the door open

           with another hand.     When the maneuvering clearance is not level, this

           ordinarily difficult process is made even more difficult by the inappropriately

           higher slope.

     ix.   At Unit 9910, due to an approximate 1 ½ inch vertical rise at the accessible

           entrance, the accessible route leading into this public accommodation contains

           at least one vertical rise in excess of ¼ inch in violation of Section 303.2 of

           the 2010 ADAAG Standards. This barrier to access would make it difficult

           and dangerous for Plaintiff to attempt to utilize the accessible route as it

           increases the likelihood of the wheelchair tipping.

      x.   At Unit 9910, due to an approximate 1 ½ inch vertical rise at the accessible

           entrance, the maneuvering clearance of the accessible entrance is not level in

           violation of Section 404.2.4 of the 2010 ADAAG standards. This barrier to

           access would make it difficult for Plaintiff to access this unit of the Property

           since it is often necessary for individuals in wheelchairs to need to use their

           hands to both wheel through the doorway and keep the door open with another

           hand. When the maneuvering clearance is not level, this ordinarily difficult

           process is made even more difficult by the presence of an excessive vertical

           rise.

     xi.   Due to the presence of an accessible ramp, the walking surfaces of the

           accessible route have a cross slope in excess of 1:48, in violation of Section

           403.3 of the 2010 ADAAG standards. This barrier to access would make it



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            dangerous and difficult for Plaintiff to access the units of the Property because

            excessive cross-slope along accessible routes increases the likelihood of

            Plaintiff’s wheelchair tipping over on its side and injuring Plaintiff.

     xii.   Due to the presence of an opening in the accessible route of approximately an

            inch, the ground surfaces of the accessible route have vertical rises in excess

            of ¼ (one quarter) inch in height, are not stable or slip resistant, have broken

            or unstable surfaces or otherwise fail to comply with Sections 302 and 303 of

            the 2010 ADAAG standards. This barrier to access would make it dangerous

            and difficult for Plaintiff to access the units of the Property.

    xiii.   In front of Unit 9902, the accessible parking space and associated access aisle

            have a running slope in excess of 1:48 in violation of Section 502.4 of the

            2010 ADAAG standards and are not level. This barrier to access would make

            it dangerous and difficult for Plaintiff to exit and enter their vehicle while

            parked at the Property as Plaintiff’s wheelchair may roll down the slope while

            entering or exiting the vehicle.

    xiv.    In front of Unit 9902, the ground surfaces of the accessible space and

            associated access aisle have vertical rises in excess of ¼ (one quarter) inch in

            height, are not stable or slip resistant, have broken or unstable surfaces or

            otherwise fail to comply with Sections 502.4, 302 and 303 of the 2010

            ADAAG standards. This barrier to access would make it dangerous and

            difficult for Plaintiff to access the units of the Property.

     xv.    In front of Unit 9902, the access aisle to the accessible parking space is not

            level due to the presence of an accessible ramp in the access aisle in violation



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            of Section 502.4 of the 2010 ADAAG standards. This barrier to access would

            make it dangerous and difficult for Plaintiff to exit and enter their vehicle

            while parked at the Property as the lift from the van may rest upon the ramp

            and create an unlevel surface.

    xvi.    In front of Unit 9902, the accessible curb ramp is improperly protruding into

            the access aisle of the accessible parking space in violation of Section 406.5 of

            the 2010 ADAAG Standards. This barrier to access would make it dangerous

            and difficult for Plaintiff to exit and enter their vehicle while parked at the

            Property as the lift from the van may rest upon the ramp and create an unlevel

            surface.

    xvii.   In front of Unit 9902, the accessible ramp side flares have a slope in excess of

            1:10 in violation of Section 406.3 of the 2010 ADAAG standards. This barrier

            to access would make it dangerous and difficult for Plaintiff to access the

            units of the Property because steep slopes on ramp side flares could cause the

            wheelchair to tip over and injure Plaintiff.

   xviii.   In front of Unit 9902, the Property has an accessible ramp leading from the

            accessible parking space to the accessible entrances with a slope exceeding

            1:12 in violation of Section 405.2 of the 2010 ADAAG standards. This barrier

            to access would make it dangerous and difficult for Plaintiff to access the

            units of the Property because when ramps are too steep (more than 1:12) it

            requires too much physical arm strain to wheel up the ramp and increases the

            likelihood of the wheelchair falling backwards and Plaintiff being injured.




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    xix.    Leading from the public sidewalk, the Property has an accessible ramp leading

            to the accessible entrances with a slope exceeding 1:10 in violation of Section

            405.2 of the 2010 ADAAG standards. This barrier to access would make it

            dangerous and difficult for Plaintiff to access the units of the Property because

            when ramps are too steep (more than 1:12) it requires too much physical arm

            strain to wheel up the ramp and increases the likelihood of the wheelchair

            falling backwards and Plaintiff being injured.

     xx.    As a result of the barrier to access referenced in (xix), the Property lacks an

            accessible route from the sidewalk to the accessible entrance in violation of

            Section 206.2.1 of the 2010 ADAAG standards. This barrier to access would

            make it difficult for Plaintiff to utilize public transportation to access the

            public accommodations located on the Property.

    xxi.    Leading from the public sidewalk, the Property has an accessible ramp that

            lacks finished edges or edge protection and/or is otherwise in violation of

            Section 405.9 of the 2010 ADAAG standards. This barrier to access would

            expose Plaintiff to increased risk of injury for if the wheelchair should fall of

            the side edge of the ramp, the lack of edge protection would likely cause

            Plaintiff to tip and incur injury.

    xxii.   Leading from the public sidewalk, there is a vertical rise at the top of the

            accessible ramp that is approximately an inch, in violation of Section 303.2

            and 405.4 of the 2010 ADAAG standards. This barrier to access would make

            it dangerous and difficult for Plaintiff to access public features of the Property

            when using this accessible ramp as vertical rises on ramps are particularly



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            dangerous as the surface of the ramp is already at a significant slope which

            increases the likelihood of the wheelchair to tip over due to the vertical rise.

   xxiii.   In front of Unit 9902, the accessible parking space is missing an identification

            sign in violation of Section 502.6 of the 2010 ADAAG standards. This barrier

            to access would make it difficult for Plaintiff to locate an accessible parking

            space.

   xxiv.    The total number of accessible parking spaces is inadequate and is in violation

            of Section 208.2 of the 2010 ADAAG standards. This barrier to access would

            make it difficult for Plaintiff to locate an available accessible parking space as

            such a small number of accessible parking spaces in a large parking lot

            increases the likelihood of there not being an available accessible parking

            space.

    xxv.    Not all entrance doors and doorways comply with Section 404 of the 2010

            ADAAG standards, this is a violation of Section 206.4 of the 2010 ADAAG

            standards. This barrier to access would make it difficult for Plaintiff to access

            the units of the Property.

   xxvi.    Inside CKC African Food Store, the interior has walking surfaces leading to

            the restroom lacking a 36 (thirty-six) inch clear width, in violation of Section

            403.5.1 of the 2010 ADAAG standards. This barrier to access would make it

            difficult for Plaintiff to properly utilize public features at the Property because

            the width of Plaintiff’s wheelchair would prevent passage through areas with a

            width less than 36 inches.




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         xxvii.      As a result of the barrier to access referenced in (xxvi), the Property lacks an

                     accessible route connecting the exterior of the Property to all accessible

                     elements and features inside the Property in violation of Section 206.2.4 of the

                     2010 ADAAG standards. This barrier to access would make it difficult for

                     Plaintiff to access public features of the Property due to the lack of a safe

                     accessible route leading from the exterior to interior spaces inside the

                     Property.

        xxviii.      Defendant fails to adhere to a policy, practice and procedure to ensure that all

                     facilities are readily accessible to and usable by disabled individuals.

       35.        The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       36.        Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       37.        The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       38.        All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

       39.        Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       40.        Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, PROSPER



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ENTERPRISES, INC., has the financial resources to make the necessary modifications.

According to the Property Appraiser, the Appraised value of the Property is $1,755,953.00.

       41.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.

       42.       Upon information and good faith belief, the Property has been altered since 2010.

       43.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       44.       Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

PROSPER ENTERPRISES, INC., is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Property, including those alleged herein.

       45.       Plaintiff’s requested relief serves the public interest.

       46.       The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, PROSPER ENTERPRISES, INC.

       47.       Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, PROSPER ENTERPRISES, INC., pursuant to 42 U.S.C. §§ 12188

and 12205.

       48.       Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, PROSPER

ENTERPRISES, INC., to modify the Property to the extent required by the ADA.



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 WHEREFORE, Plaintiff prays as follows:

 (a)   That the Court find Defendant, PROSPER ENTERPRISES, INC., in violation of

       the ADA and ADAAG;

 (b)   That the Court issue a permanent injunction enjoining Defendant, PROSPER

       ENTERPRISES, INC., from continuing their discriminatory practices;

 (c)   That the Court issue an Order requiring Defendant, PROSPER ENTERPRISES,

       INC., to (i) remove the physical barriers to access and (ii) alter the subject the

       Property to make it readily accessible to and useable by individuals with

       disabilities to the extent required by the ADA;

 (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

       and costs; and

 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: December 13, 2023.

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
                                     Douglas S. Schapiro, Esq.
                                     Attorney-in-Charge for Plaintiff
                                     Southern District of Texas ID No. 3182479
                                     The Schapiro Law Group, P.L
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